Case 1:18-cv-06616-PKC-LB Document 55 Filed 04/06/20 Page 1 of 2 PageID #: 875




 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 LIYOU XING,
 on his own behalf and on behalf of others similarly situated
                                     Plaintiff,
                                     v.
 MAYFLOWER INTERNATIONAL HOTEL GROUP INC                                Case No. 18-cv-06616-PKC-LB
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;                                         DECLARATION OF JOHN
 MAYFLOWER BUSINESS GROUP, LLC                                          TROY IN SUPPORT OF
          d/b/a Mayflower Hotel and                                     MOTION FOR LEAVE TO FILE
          d/b/a Wyndham Garden;
 MAYFLOWER INN CORPORATION                                              FIRST AMENDED
          d/b/a Mayflower Hotel and                                     COMPLAINT
          d/b/a Wyndham Garden;
 MAYFLOWER WENYU LLC
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 YAN ZHI HOTEL MANAGEMENT INC.
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 MAYFLOWER 1-1 LLC
          d/b/a Mayflower Hotel and
          d/b/a Wyndham Garden;
 YUEHUA HU,
 WEI HONG HU a/k/a Weihong Hu, and
 XIAOZHUANG GE

                                     Defendants.
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        I, John Troy, an attorney admitted to practice before the Bar of the State of New York

and in this Court, declare under penalty of perjury that the following statements are true and

correct:

        1.       I am the principal attorney of Troy Law, PLLC, attorney for Plaintiff LIYOU

XING in this matter.

        2.       I submit this affirmation in support of Plaintiff’s motion for leave to file their first

amended complaint.

        3.       In support of this request I have filed a Motion for Leave to Amend, and a

Memorandum of Law supporting that Motion.

        4.       The following exhibits are annexed to this declaration:


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Case 1:18-cv-06616-PKC-LB Document 55 Filed 04/06/20 Page 2 of 2 PageID #: 876




              Exhibit 1.      Plaintiff’s proposed First Amended Complaint, with changes from

       the initial Complaint (redlined);

              Exhibit 2.      Plaintiff’s proposed First Amended Complaint with Exhibits.

              Exhibit 3.      Plaintiff Yuanyuan Duan Consent to Become Party Plaintiff.

              Exhibit 4.      Plaintiff Hualiang Li Consent to Become Party Plaintiff.

              Exhibit 5.      Plaintiff Wingkit Loi Consent to Become Party Plaintiff.

              Exhibit 6.      Plaintiff Shuk C Ng-Lam Consent to Become Party Plaintiff.

              Exhibit 7.      Plaintiff Junhui Yan Consent to Become Party Plaintiff.

              Exhibit 8.      Plaintiff Junhua Yu Consent to Become Party Plaintiff.

              Exhibit 9.      Plaintiff Amanda Liu Consent to Become Party Plaintiff.

Dated: Flushing, NY
       April 6, 2020

                                                Respectfully submitted,

                                                 /s/ John Troy
                                                John Troy, Esq.
                                                TROY LAW, PLLC
                                                41-25 Kissena Boulevard, Suite 103
                                                Flushing, NY 11355
                                                Tel: 718-762-1324
                                                troylaw@troypllc.com
                                                Attorneys for Plaintiff




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